                           UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF WISCONSIN
                                         OFFICE OF THE CLERK

                                           362 U.S. COURTHOUSE
                                           517 E. WISCONSIN AVE
                                           MILWAUKEE, WI 53202

GINA M. COLLETTI                                                                          TEL: 414-297-3372
     CLERK                                                                               www.wied.uscourts.gov



                                            October 13, 2023


   Pablito Vega
   1314 S 1st St
   Milwaukee, WI 53204

         Re:   Vega v. Community Development Financial Institution Local Initiatives
   Support Corporation Milwaukee Office et al
               Case No. 23-CV-1357

   Dear Mr. Vega:

   This case has been assigned to Chief District Judge Pamela Pepper, who presides in the Milwaukee
   Division of the Court. Please mail all future filings for this case to: United States District Court,
   Office of the Clerk, 517 East Wisconsin Avenue, Room 362, Milwaukee, Wisconsin 53202.

   Please read the numbered paragraphs below. Failure to comply with either of these requirements
   may result in the Court’s dismissal of your case without further notice.

      1. The court will communicate with you through the mail. If your mailing address changes
         while this case is pending, you must immediately notify the court.
      2. The fee for filing a civil rights complaint is $402.00. If you are unable to pay the filing fee,
         you may file a Request to Proceed in District Court Without Prepaying the Filing Fee (form
         enclosed). You must submit either the filing fee or your request within 21 days of the date
         of this letter.

   A form regarding magistrate judge jurisdiction is enclosed for your consideration. This form must
   be returned to the Court within 21 days of the date of this letter.

                                                         Very truly yours,

                                                         GINA M. COLLETTI
                                                         Clerk of Court

                                                         s/T. Byal
                                                         Deputy Clerk




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